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                  IN THE UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

In re: Robert Kevin Finney and Lisa M Finney                         Case No.: 4:18-bk-12138
Debtors                                                                            Chapter 13



                         MOTION TO SELL REAL PROPERTY
                            FREE AND CLEAR OF LIENS

          COMES NOW Robert Kevin Finney and Lisa M Finney ("Debtors"), by and through

  their attorney, Matthew D. Mentgen, and for their Motion to Sell Real Property Free and Clear

  of Liens (“Motion to Sell”), state as follows:

     1.      This court has jurisdiction over this Motion to Sell pursuant to 28 U.S.C. §157,

  §1334 and Bankruptcy Rule 6004 and 2002(a)(2). This is a core proceeding. The petition

  commencing this Chapter 13 case was filed on April 17, 2018 [Dkt. No. 1].

     2.      This Motion to Sell arises under 11 U.S.C. § 363(f) and Bankruptcy Rule 6004(c).

     3.      Debtors are the owners of real property located at 3 Escocia Ln, Hot Springs

  Village, AR 71909-7605 (“the Property”).

     4.      Debtors scheduled the Property on Official Form 106A/B filed in this case on May

  22, 2018 with a value as of the petition date of $123,850.00 [Dkt. No. 11]. The Property was

  not encumbered at the time of filing and remains unencumbered.            Debtors exempted

  $47,350.00 of the Property on Official Form 106C [Dkt. No. 11].

     5.      Debtors filed a chapter 13 plan proposing to pay all creditors in full on August 1,

  2018 [Dkt. No. 40]. This Court confirmed this chapter 13 plan on August 27, 2018 [Dkt. No.

  47].
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       6.      Debtors have listed the Property for sale with Josh Davis, Vylla Home. Debtors

   are asking $300,000 for the Property.

       7.      Debtors propose to sell the Property, free and clear of all liens and encumbrances.

       8.      Proceeds from the sale shall be used to pay Debtors’ closing costs, including real

   estate commissions to realtors, and real estate taxes. Further, proceeds from the sale shall be

   used to pay in full all remaining claims filed in this bankruptcy case. These funds shall be

   submitted directly to the Chapter 13 Trustee servicing this case by the closing agent.

       9.      Debtors shall be entitled to any remaining proceeds from the sale after all costs,

   fees, and claims as described above in paragraph 8 have been paid.

       10.     Debtors request that the fourteen-day rule set forth in Bankruptcy Rule 6004(h) not

   apply to this sale.

       11.     An order granting this motion shall be deemed moot after 90 days.

       WHEREFORE, debtors, Robert Kevin Finney and Lisa M Finney, pray that this Motion

be granted and for all other just and proper relief to which they may be entitled.




Respectfully submitted,

/s/ Matthew D Mentgen
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